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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF NEW YORK


JEFFREY CHERY, on behalf of himself and
all others similarly situated,                    Civ. No. 1:18-cv-75 (DNH/CFH)

                           Plaintiff,
                                                 AMENDED CLASS ACTION
v.                                               COMPLAINT

CONDUENT EDUCATION SERVICES,                     JURY TRIAL DEMANDED
LLC, f/k/a ACS, ACCESS GROUP, INC., and
ACCESS FUNDING 2015-1, LLC,

                           Defendants.


       Plaintiff Jeffrey Chery (“Plaintiff”), by his undersigned counsel, on behalf of himself and

all other similarly situated, complaining of defendants Conduent Education Services, LLC, f/k/a

ACS (“ACS”), Access Group, Inc. (“Access Group”), and Access Funding 2015-1, LLC (“Access

Funding”) (ACS, Access Group, and Access Funding, are, collectively, “Defendants”), alleges

based upon information and belief and documents received in response to a Pennsylvania Right-

to-Know Law (“RTKL”), 65 P.S. §§ 67.101 et seq., request, as follows:

                               PRELIMINARY STATEMENT

       1.     This is a class action against Defendants for violations of New York General

Business Law § 349, breach of contract, breach of implied covenant of good faith, declaratory

judgment, negligence, and, alternatively, unjust enrichment.

       2.     An FFELP (defined below) student loan borrower has an absolute right to pay off

his/her loan(s) at any time and without penalty. The class consists of borrowers whose right to

prepayment was thwarted because their Federal Direct Consolidation Loan Applications were
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improperly and wrongfully denied, delayed, or had loans removed because ACS failed to return a

timely or complete Loan Verification Certificate (“LVC”).

           3.      According to the Consumer Financial Protection Bureau (“CFPB”), the process to

payoff existing FFELP student loans by consolidating into a Direct Consolidation Loan should

take a total of 30 days. 1 As part of the consolidation process, within ten business days, the holder

of a student loan that receives a request must complete and return an LVC for a loan the borrower

is seeking to consolidate into a Direct Loan (defined below). 34 C.F.R. 685.220(f)(1)(i).

           4.      Notwithstanding this obligation, ACS had a pattern and long history of regularly

preventing repayment by failing to return LVCs within the mandated time period.

           5.      The Department of Education has cautioned that because servicers are not

compensated for loans consolidated with a new servicer, there “could be a disincentive for

servicers” to assist borrowers with this process. 2 Consistent with this warning, as detailed below,

ACS delayed in responding to the LVC request sent in regard to Plaintiff’s Federal Direct

Consolidation Loan Application for many months, denying Plaintiff his right to pay off his loans

and costing Plaintiff nearly a year of qualifying payments toward the Public Service Loan

Forgiveness Program (“PSLF”).

           6.      ACS’s delay in processing Plaintiff’s LVC was not unique to Plaintiff. Documents

produced in response to an RTKL request reveal that ACS’s failure to deliver timely or complete

LVCs was caused by systematic and internal issues at ACS, which harmed, thousands of similarly

situated student loan borrowers.

           7.      Notwithstanding the fact that ACS was aware of its internal issues, its resulting

delays, and the damages ACS was causing, ACS failed to correct the problem in a timely manner,


1
    http://files.consumerfinance.gov/f/documents/201706_cfpb_PSLF-midyear-report.pdf at p. 32.
2
    http://www.gao.gov/assets/680/677159.pdf at p. 23.

                                                         2
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or compensate borrowers who remained trapped in loans they were seeking to repay; and forced

to incur added burdens, costs, and expenses associated with the delay.

           8.      As the CFPB explained in a June 2017 report, when a servicer fails to certify loan

balances in a timely manner, the Direct Consolidation Loan cannot be originated or loans that are

eligible for consolidation are left out of the Direct Consolidation Loan. These “servicing errors”

harm borrowers by “prevent[ing] borrowers from making qualifying payments, and ultimately add

years and potentially thousands of dollars to repayment.” 3 Notably, as early as June 2015, Federal

Student Aid (“FSA”), an office of the Department of Education, was aware of the “situation with

ACS/Xerox,” but according to a document titled “Liaison Report – Issues Affecting Organization

(All Statuses),” “FSA has no power to force ACS to do anything since they do not have a contract

with ACS.”

           9.      Plaintiff’s claims against ACS are typical of members of the Class and are best

asserted and resolved on a class-wide basis. Absent a Class action, individual borrowers will not

have the platform or resources necessary to compel ACS to compensate them for the damages

ACS caused.

                                      JURISDICTION AND VENUE

           10.     This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, 28 U.S.C. § 1332(d) because the aggregate amount in controversy

exceeds $5,000,000.00 and there is diversity between a Plaintiff and a Defendant.

           11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Defendants

conduct substantial business in this District, have sufficient minimum contacts with this District,

and otherwise purposely avails themselves of the markets in this District, through the promotion,



3
    http://files.consumerfinance.gov/f/documents/201706_cfpb_PSLF-midyear-report.pdf at p. 32.

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sale, and marketing of their services in this District. Venue is also proper because a substantial

part of the events or omissions giving rise to the claim occurred within this judicial district.

                                             PARTIES

       12.     Plaintiff Jeffrey Chery had nine FFELP student loan accounts that were serviced by

ACS from in or around April 2012 until December 2016 (the “Loans”). At the time this action

was commenced, Plaintiff resided in the Commonwealth of Virginia. Plaintiff currently resides in

New York, New York. Plaintiff resided in Queens, New York when the Loans were originated.

Plaintiff’s address for communications with ACS was at all relevant times, and remains, his

family’s address in Queens, New York.

       13.     Defendant ACS is a Delaware limited liability company. ACS is registered to do

business in the State of New York. The ACS office responsible for student loan servicing

operations and correspondence with Plaintiff is located in Utica, New York. On January 1, 2017,

ACS Education Services became part of Conduent Business Services, LLC. As a subsidiary of

Conduent Business Services, ACS became Conduent Education Services, LLC.

       14.     Defendant Access Group is a Delaware corporation. Access Group is registered to

do business in the State of New York. Access Group was the owner of seven of the Loans.

       15.     Defendant Access Funding is a Delaware limited liability company. Access

Funding was the owner of two of the Loans.

                                  RELEVANT NON-PARTIES

       16.     FedLoan Servicing (“FedLoan”) is a department of the Pennsylvania Higher

Education Assistance Agency (“PHEAA”), which services student loans under the William D.

Ford Federal Direct Loan Program (“Direct Loans”). Since 2012, FedLoan has been the servicer




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for PSLF, a program that provides the opportunity for borrowers to obtain forgiveness of their

student loan debt if certain conditions are satisfied.

       17.      FedLoan is one of four servicers of consolidation loans under the Direct Loan

program (“Direct Consolidation Loans”). The other servicers of Direct Consolidation Loans are

Great Lakes Loan Services, Inc. (“Great Lakes”), Nelnet, and Navient.

       18.     FedLoan/PHEAA, Great Lakes, Nelnet, and Navient are referred to, collectively,

as the “Direct Loan Servicers.”

                                         BACKGROUND

       19.     Under the Federal Family Education Loan Program (“FFELP”), private lenders

made federal student loans to students, and guaranty agencies insured these funds, which were, in

turn, reinsured by the federal government.

       20.     As a result of the Health Care and Education Reconciliation Act of 2010, FFELP

was replaced with the Direct Loan Program. Accordingly, no new FFELP loans were originated

after July 1, 2010.

       21.     Under the Direct Loan Program, federal student loans are made directly from the

U.S. Department of Education to students.

       22.     A borrower with FFELP loans must consolidate his/her loans with a Direct

Consolidation Loan to receive the benefits of certain student loan repayment programs, including,

but not limited to, PSLF.

       23.     Under PSLF, Direct Loans are forgiven after a borrower, who works in full-time

public service employment, makes 120 separate (not necessarily consecutive), on-time, monthly

payments beginning any time after October 1, 2007.




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                                      STATEMENT OF FACTS

        24.         In accordance with the terms of the applicable master promissory notes (“MPN”),

Defendants provided Plaintiff with a form disclosure statement for each of the Loans, “identifying

the amount of the loan and additional terms of the loan” (“Disclosure Statements”). 4 Copies of

relevant portions of the Disclosure Statements for the Loans are attached as Exhibit A.

        25.         Each Disclosure Statement was sent by ACS, contains the ACS logo, and identifies

Access Group as the “Lender.” All of the Disclosure Statements provide:

              (a)

        This document incorporates the repayment obligation(s) under original Promissory
        Notes(s) pertaining to the loans listed below. Your obligation is subject to the terms
        and conditions of such Promissory Note(s), each of which is still in effect in
        accordance with its terms.

              (b)

        This repayment obligation will be interpreted according to Federal Law (20 USC
        1071 to 1087-4) and Regulations (34CFR 682), applicable state law and regulations
        governing the Federal Family Education Loan Program and the terms of the
        Promissory Note(s) which you have signed.

              (c)

        Consolidation or refinancing options may be available for STAFFORD, SLS
        Program, Plus Program, Perkins Loan Program, Health Profession Student Loan
        Program, and other educational loan programs. For further information, you should
        visit Direct Loan Consolidations at http://www.loanconsolidation.ed.gov regarding
        a consolidation loan with a repayment term between 10 and 30 years depending on
        your principal balance.



4
 Sample master promissory notes for each of these loan types are publicly available. See, e.g., FFELP, Federal
Stafford Loan Master Promissory Note, https://ifap.ed.gov/dpcletters/attachments/FP0608StaffApp2008.pdf;
FFELP, Federal PLUS Loan Master Promissory Note,
https://ifap.ed.gov/dpcletters/attachments/FP0904PLUSHEOAExp083110.doc; FFELP, Federal Consolidation Loan
Master Promissory Note,
https://ifap.ed.gov/dpcletters/attachments/FP0705AttBCORRECTEDAppPNoteCustom.pdf.



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       26.         Each MPN provides:

             (a)

       I [borrower] may prepay all or any part of the unpaid balance on my loan[s] at any
       time without penalty.

             (b)

       The terms of this [MPN] will be interpreted in accordance with the [Act (defined
       below)/applicable federal statutes and regulations]…

             (c)

       [A loan/loans] disbursed under this [MPN is/are] subject to the Higher Education
       Act of 1965, as amended (20 U.S.C. 1070 et seq.), and applicable U. S. Department
       of Education regulations (collectively referred to as the “Act”).

       27.         ACS reaffirmed a borrower’s right to prepay his/her loans in the form language

contained in billing statements, which provides, “You may prepay all or a portion of your loan(s)

any time without penalty.”

       28.         On or about February 4, 2016, Plaintiff submitted a Direct Consolidation Loan

Application. Plaintiff sought to consolidate the Loans to make qualifying PSLF payments.

Because Plaintiff was consolidating to participate in PSLF, his application was submitted to

FedLoan.

       29.         Upon receipt of Plaintiff’s application, FedLoan sent an LVC to ACS to be

completed by ACS.

       30.         ACS was required to complete the LVC and return it to FedLoan within ten

business days of having received it.

       31.         On or about February 23, 2016, Plaintiff received an email from FedLoan

notifying him that his consolidation application was denied through no fault of his own. Upon

receiving this news, Plaintiff called FedLoan, and was informed that his application was denied



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because ACS was required, but failed, to submit an LVC certifying the balances for each of the

Loans. FedLoan informed Plaintiff that FedLoan “always” experiences issues and delays with

getting LVCs from ACS to certify loan balances.

        32.     Also, on February 23, 2016, immediately after speaking with FedLoan, Plaintiff

contacted ACS concerning the status of the LVC for his Loans. On this call, ACS confirmed it

had failed to complete the LVC within the required ten-day period and admitted the LVC was

still not completed as of the date of the call.

        33.     Two weeks later, Plaintiff called ACS again and was told that the LVC was still

not ready. In early April 2016, Plaintiff called ACS again, and was told that the LVC had the

required information for eight of the nine Loans, but ACS was still working on the LVC

information for one of the Loans. Between April and June, Plaintiff called ACS at least three

more times, and each time was told that ACS was still working on the one remaining Loan for

the LVC, and that the LVC could not be sent to FedLoan until the last Loan’s information was

completed.

        34.     Finally, in or around December 2016 – approximately ten months after Plaintiff

applied to have the Loans consolidated – FedLoan received the LVC for the Loans and Plaintiff’s

consolidation application was finally approved.

        35.     As a result of ACS’s delay, Defendants were able to thwart payoff of the Loans

for nearly ten months thereby continuing to profit. In addition, Plaintiff lost up to ten qualifying

payments toward PSLF, and paid approximately $1,056.66 without any corresponding credit

toward PSLF.




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       36.     Documents produced by PHEAA, in response to a RTKL request show that ACS’s

failure to deliver timely or complete LVCs was a pervasive problem. The documents also show

that this problem was caused by a systematic flaw in ACS’s servicing system.

       37.     In a January 8, 2015 email, titled, “ACS No LVC Returned,” Tony Divel, a

Production Support Analyst at PHEAA/FedLoan, conceded, “that we were missing a lot of LVC’s

for ACS, specifically for the CNSLDN [consolidation] loan program.”

       38.      To advance consolidation applications, PHEAA would remove loans that ACS

did not provide a timely or complete LVC for from the application. If a borrower requested to

add the previously removed ACS loans back to the application the borrower was told, “unable to

add ACS loans due to loans removed from consol [sic] due to prior servicer did not provide a

clear LVC that meets the eligibility. Loan(s) must be removed in order to advance the app.”

       39.     In a May 14, 2015 email, Melissa Johnson, a Manager at FedLoan, recounted that

on a phone call with “Shawn” (presumably this refers to Shawn Hughes at ACS), regarding

“Pending Financial Verification (PFV),” (i) “[h]e did not know the number of accounts affected,

but stated a large volume,” (ii) that the issue, “is getting a lot of attention” but “[u]nfortunately,

they [ACS] are not able to allocate as many resources to the accounts as he wishes they could,”

(iii) the ACS call center is receiving calls about the LVC issue, but the “script that they read to

divert the calls from the borrower” is “vanilla,” and (iv) Great Lakes is having the same problem.

       40.     A June 2, 2015 document titled “Liaison Report – Issues Affecting Organization

(All Statuses),” provides that, Jamie Napralla at Great Lakes, reported an issue concerning “Loan

Consolidation – ACS/Xerox not responding to LVC’s.” This document also notes that “FSA”

(Federal Student Aid) is aware of the “situation with ACS/Xerox,” and that “FSA has no power

to force ACS to do anything since they do not have a contract with ACS.”



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          41.   As shown in the following chart created by PHEAA, at least as early as May 2015,

PHEAA developed a formal procedure to attempt to deal the with problems caused by ACS’s

failure                         to                        deliver                        LVCs:




          42.   ACS originally attempted to resolve the LVC issues by the end of June 2016, but

ACS failed to meet the deadline.

          43.   FedLoans was able to identify and track specific borrowers affected by ACS’s

failure to deliver timely or complete LVCs. These borrowers were named in documents regularly

sent to ACS.

          44.   The PHEAA documents demonstrate that what occurred to Plaintiff has also

occurred to thousands of other borrowers, causing them to suffer substantial damages.


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                                 CLASS ACTION ALLEGATIONS

           45.   Plaintiff brings this class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of a Class consisting of all borrowers of student loans whose Federal Direct

Consolidation Loan Applications were denied, delayed, or had loans removed from a Federal

Direct Consolidation Loan Application because ACS failed to return a timely or complete LVC

(the “Class”).

           46.   The members of the Class are so numerous that joinder of all members is

impracticable. Although the exact number of members of the Class is unknown to Plaintiff at this

time and can only be ascertained through appropriate discovery, Plaintiff reasonably believes there

are thousands of members of the Class. ACS once managed one of the largest portfolios of student

loans. 5

           47.   Common questions of law and fact exist to all members of the Class and

predominate over any questions solely affecting individual members. Among the questions of law

and fact common to the Class are:

           (a)   whether Defendants’ conduct violated New York General Business Law § 349;

           (b)   whether Defendants breached their common law or statutory duty to plaintiff and

                 other members of the Class;

           (c)   whether Defendants breached their contract with Plaintiff and the other members

                 of the Class;

           (d)   whether Defendants breached the implied covenant of good faith and fair dealing;

           (e)   whether Defendants conduct was negligent;

           (f)   whether Defendants were unjustly enriched; and


5
 https://www.washingtonpost.com/news/grade-point/wp/2016/11/22/acss-2-4-million-settlement-in-massachusetts-
highlights-problems-in-student-loan-servicing/?utm_term=.17c9cadb047d.

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          (g)    whether Defendants amortized and serviced student loans with legitimate systems

                 that maintained accurate account balances and/or payoff amounts on a timely basis.

          48.    Plaintiff’s claims are typical of the claims of the members of the Class, as Plaintiff

and the other members of the Class sustained damages arising out of the same wrongful conduct

by Defendants as alleged herein.

          49.    Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class action litigation. Plaintiff has no

interests antagonistic to or in conflict with those of the Class.

          50.    A class action is superior to all other available methods for the fair and efficient

adjudication of the controversy since joinder of all members of the Class is impracticable.

Furthermore, as the damages suffered by the individual class members may be relatively small,

the expense and burden of individual litigation make it impracticable for members of the Class to

seek redress individually for the wrong done to them.            There will be no difficulty in the

management of this action as a class.

                                   FIRST CLAIM FOR RELIEF

                        (Violation of N.Y. GBL § 349 on behalf of Plaintiff
                               and the Class against all Defendants)

          51.    Plaintiff repeats and realleges all preceding paragraphs as if set forth fully herein.

          52.    Plaintiff and the other members of the Class have been injured and suffered

damages by violations of section 349(a) of New York General Business Law (the “GBL”), which

states:

          Deceptive acts or practices in the conduct of any business, trade or commerce or in
          the furnishing of any service in this state are hereby declared unlawful.




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       53.     Defendants engaged in acts and practices in the State of New York that were

deceptive or misleading in a material way, and that injured Plaintiff and the other members of the

Class. Such acts and practices were likely to mislead a reasonable consumer acting reasonably

under the circumstances existing at the time.

       54.     Defendants’ deceptive acts include representing to borrowers that their loans may

be repaid, and thus, consolidated with another lender at anytime; when in fact Defendants were

unable to provide accurate account balances/payoff amounts to enable loan payoff or consolidation

leaving borrowers trapped in their loans serviced by ACS and forced to make further payments to

Defendants.

       55.     Plaintiff and the other members of the Class have been damaged by Defendants’

violations of section 349 of the GBL, for which they seek recovery of the actual, or, alternatively,

statutory, damages they suffered because of Defendants’ willful and wrongful violations of section

349, in an amount to be determined at trial.

       56.     Plaintiff and the other members of the Class also seek to enjoin Defendants’

practices that violate section 349 of the GBL.

       57.     Plaintiff and the other members of the Class seek treble damages and an award of

reasonable attorney’s fees pursuant to section 349(h) of the GBL.

                               SECOND CLAIM FOR RELIEF

                           (Breach of Contract on behalf of Plaintiff
                             and the Class against all Defendants)

       58.     Plaintiff repeats and realleges all preceding paragraphs as if set forth fully herein.




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       59.      Defendants’ standard form contract with Plaintiff and the other members of the

Class provides, in relevant part that:

             (a) a borrower may prepay all or any part of the unpaid balance on their loans at any

                time without penalty;

             (b) loans are subject to the Higher Education Act of 1965, as amended (20 U.S.C. 1070

                et seq.), and applicable U. S. Department of Education regulations; and

             (c) repayment obligation are interpreted according to Federal Law (20 USC 1071 to

                1087-4) and Regulations (34CFR 682), applicable state law and regulations

                governing the Federal Family Education Loan Program and the terms of the MPN.

       60.      Defendants breached their contract by, as alleged above, (i) thwarting prepayment

by preventing borrowers from consolidating their loans with other lenders/servicers; and (ii) failing

to return timely or complete LVCs when borrowers submitted Federal Direct Consolidation Loan

Applications.

       61.      As a result of Defendants’ breach of contract, Plaintiff and the Class have been

damaged in an amount to be determined at trial.

                                  THIRD CLAIM FOR RELIEF

                 (Breach of Implied Covenant of Good Faith and Fair Dealing
                   on behalf of Plaintiff and the Class against all Defendants)

       62.      Plaintiff repeats and realleges all preceding paragraphs as if set forth fully herein.

       63.      Defendants are in contract with Plaintiff and the other members of the Class

concerning the servicing and repayment of student loans.

       64.      Every contract imposes the duty of good faith and fair dealing upon the parties’

performance. Here that duty requires that Defendants amortize and service student loans by




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employing legitimate systems that maintain accurate account balances and/or payoff amounts on

a timely basis.

       65.        Defendants acted in bad faith by employing a system that was unable to provide

accurate account balances/payoff amounts to enable payoff/consolidation with Direct Loans.

       66.        As a result of Defendants’ breach of the covenant of good faith and fair dealing,

Plaintiff and the Class have been damaged in an amount to be determined at trial.

                                  FOURTH CLAIM FOR RELIEF

                            (Declaratory Judgment on behalf of Plaintiff
                               and the Class against all Defendants)

       67.        Plaintiff repeats and realleges all preceding paragraphs as if set forth fully herein.

       68.        An actual controversy exists as to whether Defendants’ failure to return timely or

complete LVCs violates Plaintiff and the Class’s right to prepay all or any part of the unpaid

balance on their loans at any time and without penalty.

       69.        Plaintiff and the Class are entitled to declaratory judgment that they may at any

time and without penalty prepay their loans through consolidation with another lender/servicer.

                                    FIFTH CLAIM FOR RELIEF

                                  (Negligence on behalf of Plaintiff
                                 and the Class against all Defendants)

       70.        Plaintiff repeats and realleges all preceding paragraphs as if set forth fully herein.

       71.        ACS assumed, and therefore owed, a duty to Plaintiff and the other members of the

Class to maintain accurate account balances and/or payoff amounts; be able to timely process

payments, including, payoffs for consolidations; and provide reasonable, accurate and timely

information concerning the loans it serviced.




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        72.     ACS further assumed, and therefore owed, a duty to correct the systematic and

internal issues that prevented it from delivering timely or complete LVCs.

        73.     ACS breached its foregoing duties to Plaintiff and other members of the Class by

performing its responsibilities in a grossly inadequate and negligent manner.

        74.     As a proximate cause of ACS’s negligence and/or gross negligence, Plaintiff and

the other members of the Class have been damaged.

        75.     As a result of the negligent actions of their agent, ACS, Access Group and Access

Funding are responsible via the legal principles of a vicarious liability and respondeat superior.

                                  SIXTH CLAIM FOR RELIEF

                    (Alternatively, Unjust Enrichment on behalf of Plaintiff
                             and the Class against all Defendants)

        76.     Plaintiff repeats and realleges all preceding paragraphs as if set forth fully herein.

        77.     As detailed above, Plaintiff and the other members of the Class have conferred a

benefit upon Defendants, specifically the principal, interest, and fees Defendants earns from

servicing/owning Plaintiff and the other members of the Class’s student loans to which it would

not otherwise have been entitled.

        78.     Defendants’ retention of the money they received by thwarting payoff of student

loans and thereby continuing to profit is an unjust enrichment and violates equity and good

conscience.

        79.     As a result of Defendants’ unjust enrichment, Plaintiff and the Class have been

damaged in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff on behalf of himself and the Class prays for judgment as follows:

        (a)    Certifying the proposed Class pursuant to Fed. R. Civ. P. 23;


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       (b)   Designating Plaintiff as representative of the proposed Class and designating

             Plaintiff’s counsel as Class counsel;

       (c)   Awarding Plaintiff and the other members of the Class compensatory and/or

             statutory damages for the wrongful acts alleged;

       (d)   Awarding Plaintiff and the other members of the Class treble damages for

             Defendants’ violations of GBL § 349;

       (e)   Awarding Plaintiff and the other members of the Class the declaratory relief sought;

       (f)   Enjoining Defendants from continuing the wrongful acts and practices alleged;

       (g)   Awarding Plaintiff and the other members of the Class the costs of the suit and

             attorneys’ fees;

       (h)   Awarding Plaintiff and the other members of the Class pre and post-judgment

             interest at the maximum legal rate; and

       (i)   Awarding Plaintiff and the other members of the Class such other and further relief

             as the Court deems just and proper.

                                           JURY DEMAND

              Plaintiff demands trial by jury.

Dated: April 10, 2018
                                                      MOORE KUEHN, PLLC

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